 Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 1 of 56 PageID #:21689
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 1                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
 2                               EASTERN DIVISION
 3
      DEXIA CREDIT LOCAL, f/k/a Dexia              )
 4    Public Finance Bank and Credit               )    No. 02 C 8288
      Local de France,                             )
 5                                                 )    Chicago, Illinois
                             Plaintiff,            )    November 18, 2008
 6                                                 )    10:30 a.m.
                v.                                 )
 7                                                 )
      PETER G. ROGAN, et al.,                      )
 8                                                 )
                             Defendants.
 9
                            TRANSCRIPT OF PROCEEDINGS
10                   BEFORE THE HONORABLE MATTHEW F. KENNELLY
11    APPEARANCES:
12    For the Plaintiff:            HOWREY LLP, by
                                    MR. SCOTT T. MENDELOFF
13                                  MR. GABRIEL AIZENBERG
                                    321 North Clark Street - Suite 3400
14                                  Chicago, Illinois 60654
15    For Fred Cuppy:               KELLEY DRYE & WARREN LLP, by
                                    MS. ERIN KREJCI
16                                  400 Atlantic Street
                                    Stamford, Connecticut 06901
17
                                    KELLEY DRYE & WARREN LLP, by
18                                  MR. DAVID M. SHORT
                                    333 West Wacker Drive - 26th Floor
19                                  Chicago, Illinois 60606
20    For Robert Rogan and          O'ROURKE & MOODY, by
      Brian Rogan:                  MR. MICHAEL J. O'ROURKE
21                                  MR. MYLES PATRICK O'ROURKE
                                    55 West Wacker Drive - Suite 1400
22                                  Chicago, Illinois 60601
23
24                          Valarie M. Ramsey, CSR, RMR
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 Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 2 of 56 PageID #:21690
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 1    APPEARANCES (Continued):
 2
 3    For Robert Rogan and          TOUHY, TOUHY,
      Sara Caitlin Rogan:           BUEHLER & WILLIAMS, LLP, by
 4                                  MR. JEFFREY J. HALLDIN
                                    55 West Wacker Drive - Suite 1400
 5                                  Chicago, Illinois 60601
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 Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 3 of 56 PageID #:21691
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 1               THE CLERK: 02 C 8288, Dexia versus Rogan.
 2               THE COURT: All right. Let's get everybody in a spot
 3    first. And we'll start on this side, and we'll go right
 4    across the room.
 5               MS. KREJCI: Good morning, Your Honor. Erin Krejci
 6    on behalf of Fred Cuppy.
 7               MR. SHORT: Good morning, Your Honor. David Short
 8    also on behalf of Fred Cuppy.
 9               MR. MICHAEL O'ROURKE: Good morning, Your Honor.
10    Mike O'Rourke on behalf of Brian Rogan. We also filed an
11    appearance for Robert Rogan this morning, or last night.
12               THE COURT: So it's Brian and Robert at this point?
13               MR. MICHAEL O'ROURKE: Yes.
14               MR. HALLDIN: Jeff Halldin on behalf of Sara Caitlin,
15    Robert Rogan.
16               MR. MYLES O'ROURKE: Myles O'Rourke on behalf of
17    Robert Rogan and Brian Rogan.
18               MR. MENDELOFF: Scott Mendeloff on behalf of Dexia.
19               MR. AIZENBERG: Gabriel Aizenberg on behalf of Dexia.
20               THE COURT: Okay. Got a bunch here, and looked like
21    everybody came into the room late, so I'm guessing you all got
22    my e-mail. I didn't want you to have to sit around through
23    the whole call.
24               MR. MICHAEL O'ROURKE: Thank you.
25               MR. SHORT: Thank you very much, Judge.
 Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 4 of 56 PageID #:21692
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 1               THE COURT: All right. Let me just get the easiest
 2    thing done first.
 3               There is noticed up for today a motion by Dexia, an
 4    agreed motion to amend the temporary restraining order
 5    directed to the Bank of America.
 6               MR. MENDELOFF: Yes, Your Honor.
 7               THE COURT: That's granted. And so I assume somebody
 8    is going to get me an order on that.
 9               MR. MENDELOFF: I sent you last week --
10               THE COURT: Do you know what, the problem is there's
11    so gosh darn many orders in this case, I think I deleted that.
12    Can you send it again?
13               MR. MENDELOFF: Sure. And I sent you one redacted
14    and unredacted for that.
15               THE COURT: Okay. So send me both.
16               MR. MENDELOFF: I'll send it to you again.
17               THE COURT: Let me just make a note on that.
18               And so the other substantive matters that I believe
19    are up today, and you'll tell me if there's anything else,
20    I've got Robert Rogan's motion to dismiss for lack of personal
21    jurisdiction, and I had said that I'm going to hear further
22    argument on -- at least on the case that was cited in the
23    reply. I've got the -- Dexia's motion for partial
24    reconsideration relating to Mr. Cuppy. And I got the response
25    that was filed on that yesterday. And then I think we had
 Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 5 of 56 PageID #:21693
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 1    tabled until today, but I'm not sure, the matter of setting up
 2    some sort of procedure for how to deal with the Rogan -- what
 3    I'll just call generically the Rogan children and how we're
 4    going to go ahead from there. Is that right?
 5               MR. MICHAEL O'ROURKE: Yes.
 6               MR. MENDELOFF: That's right.
 7               On that, Your Honor, we had a conference call last
 8    Friday. We agreed on a schedule, and I'd like to hand that up
 9    if I could.
10               THE COURT: That's great. Okay. If I can deal with
11    that quickly, then I can deal with that first.
12               (Documents tendered to the court.)
13               THE COURT: So this is essentially -- is this an
14    agreed proposed schedule?
15               MR. MENDELOFF: Yes.
16               MR. MICHAEL O'ROURKE: Yes, Your Honor.
17               THE COURT: Works for me. Okay. So, Augie, I'll
18    take care of this with you later.
19               MR. MICHAEL O'ROURKE: The dates aren't set. I mean,
20    it gives, Your Honor, and the parties agree that it gives us a
21    pretty good time frame to get in everything that we need to
22    get in.
23               THE COURT: Okay. So, I mean, it's quick, but it
24    should be relatively quick.
25               MR. MICHAEL O'ROURKE: I think so.
 Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 6 of 56 PageID #:21694
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 1               THE COURT: Okay. All right. Okay.
 2               MR. MENDELOFF: The one thing on that, Your Honor.
 3               THE COURT: Yes.
 4               MR. MENDELOFF: And I don't want to belabor this, but
 5    we are going to make a motion in front of the bankruptcy court
 6    in Indiana to see if we can try Mrs. Rogan's issues before
 7    Your Honor.
 8               THE COURT: And so at some point we might need to be
 9    folding that into this or something like this.
10               MR. MENDELOFF: Yes. And we discussed that, and what
11    we'd propose is we would only fold in the aspects of the case
12    on Mrs. Rogan that overlap with the children.
13               THE COURT: You know what, I'm going to worry about
14    that when I have to worry about it.
15               MR. MICHAEL O'ROURKE: Fine.
16               THE COURT: Okay. So let me deal first, then, with
17    the Robert Rogan motion to dismiss. And so I got -- I have
18    the motion, I've got -- and the supporting memorandum, I've
19    got the response, I've got the reply, and I've looked at SEC
20    versus Ross, which is the primary authority that's relied on
21    in the reply, and that was the thing that prompted the
22    plaintiff to want to say more. So, Mr. Aizenberg, you've got
23    the floor.
24               MR. AIZENBERG: Okay. Thank you, Your Honor.
25               THE COURT: And then I'll give whoever it is on this
 Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 7 of 56 PageID #:21695
                                                                                7


 1    side the chance to comment.
 2               MR. AIZENBERG: Ross isn't applicable for two
 3    reasons. One is it's contrary to the weight of authority,
 4    which the Ross case itself acknowledges. And even if one
 5    accepts the Ross case, it's factually distinguishable because
 6    the intervenor in Ross took affirmative steps to raise their
 7    objection multiple times, including substantive argument. I
 8    want to go through each of these two items briefly. Okay.
 9               Contrary to the weight of authority. Ross itself
10    acknowledges that the overwhelming weight of authority goes
11    the other way; in other words, that when a party moves to
12    intervene, they waive personal jurisdiction. And Ross cites
13    cases from federal courts of appeal in the Eleventh, the Sixth
14    and the D.C. Circuit.
15               In addition, we cited a case in our briefing --
16               THE COURT: There were a couple of district court
17    cases, I recall.
18               MR. AIZENBERG: Yes. That was affirmed by the Second
19    Circuit, although the Second Circuit didn't address that
20    issue, but it's the Second Circuit case. And we also cited a
21    Seventh Circuit case that's not an intervention case, but I
22    believe it's pretty factually analogous.
23               THE COURT: Is that Sharif?
24               MR. AIZENBERG: That is DeWitt Porter versus Kovalic.
25               THE COURT: Oh, okay.
 Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 8 of 56 PageID #:21696
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 1               MR. AIZENBERG: It's a case where a -- it's an
 2    unpublished opinion, Your Honor.
 3               THE COURT: Unpublished from when?
 4               MR. AIZENBERG: Oh. I don't know the year.
 5               THE COURT: Is it prior to December 1st of 2007?
 6               MR. AIZENBERG: I believe so.
 7               THE COURT: Then you can't talk about it.
 8               MR. AIZENBERG: Okay. I won't talk about it.
 9               THE COURT: Up until that, that's when they changed
10    the rules about relying on unpublished authority.
11               MR. AIZENBERG: Okay.
12               But bottom line is contrary to the weight of
13    authority, which Ross acknowledges itself, but even if you
14    say, well, you know, I want to consider the Ross reasoning,
15    it's factually distinguishable.
16               First, in Ross, the sales agent intervenors filed
17    four separate documents that the Ninth Circuit found preserved
18    their objections. They filed a motion to intervene where they
19    raised an objection. They raised the objection in their
20    answers. They raise it in a document called preliminary
21    objections, which the Ninth Circuit explained set forth, and I
22    quote, "the legal bases for the defenses." And in their
23    opposition to the disgorgement motion these intervenors
24    reiterated their procedural objections, and the Ninth Circuit
25    notes that there was substantive discussion in these briefing.
 Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 9 of 56 PageID #:21697
                                                                                9


 1               Second of all, it's factually distinguishable because
 2    in Ross the sales agents raised these four -- four times these
 3    objections before there was a substantive ruling. In other
 4    words, the district court made its decision on the
 5    disgorgement issue after they had already four times raised
 6    this objection. Here it was raised afterward, okay. So in
 7    this case what's distinguishable is less quality, less
 8    quantity and the timing, okay.
 9               Here the objection was raised twice, four times in
10    Ross. In Robert Rogan's reply brief at page 11, he says that
11    on at least five prior occasions before the motion to dismiss
12    he repeatedly, and I'm quoting, "raised and reiterated his
13    objection to this court's exercise of personal jurisdiction."
14    This is at page 11. Okay. And the five occasions he
15    identifies at page 10 of his reply brief are, one, the motion
16    to intervene, which was filed on September 15th. Which is
17    true, the objection is mentioned there. In the motion to
18    dissolve --
19               THE COURT: Wait, wait. The catalog of the five
20    places is on which page?
21               MR. AIZENBERG: Page 10 at the bottom, I believe.
22               THE COURT: Got it.
23               So the motion to inter-- the motion to intervene.
24    Okay. Go ahead. I'm listening.
25               MR. AIZENBERG: The motion to dissolve.
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 10 of 56 PageID #:21698
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 1               THE COURT: All right.
 2               MR. AIZENBERG: Then Robert Rogan says that he raised
 3   it in the memorandum of law in support of the motion to
 4   dissolve. We --
 5               THE COURT: Well, the first two I agree with. It's
 6   paragraph -- because I pulled these all myself. The motion to
 7   intervene it's referenced in paragraph four.
 8               MR. AIZENBERG: Correct.
 9               THE COURT: No notice, no jurisdiction.
10               MR. AIZENBERG: Correct.
11               THE COURT: The motion to dissolve says in paragraph
12   five no personal jurisdiction.
13               MR. AIZENBERG: Correct.
14               THE COURT: There's nothing in the memorandum.
15               MR. AIZENBERG: Nothing. And what's notable too is
16   in the memorandum they argue --
17               THE COURT: It talks about venue.
18               MR. AIZENBERG: Venue. Okay, and it's a similar set
19   of arguments, similar factual argument, but they didn't argue
20   personal jurisdiction. They only argued venue.
21               They also say, Robert Rogan says he raised it in his
22   brief in opposition to the preliminary injunction.
23               THE COURT: Yeah.
24               MR. AIZENBERG: And it's not there. That brief, as
25   Your Honor may recall, dealt with the issue of whether the
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 11 of 56 PageID #:21699
                                                                               11


 1   citation proceeding was set up properly.
 2               And then, lastly, they say that they raised it during
 3   the oral argument.
 4               THE COURT: And I just didn't remember one way or
 5   another on that.
 6               MR. AIZENBERG: It's not there. We -- in the -- when
 7   they filed their motion to intervene, it was on September
 8   16th. The transcript at page 15, we attached it to our
 9   response brief.
10               THE COURT: I'm assuming that in oral argument, he
11   means oral argument after the preliminary injunction hearing.
12   Is that what you meant?
13               MR. MYLES O'ROURKE: That was oral argument after
14   the -- that's in closing on that issue.
15               THE COURT: Is that the September 16th thing you're
16   talking about?
17               MR. AIZENBERG: No. I was looking -- we looked at
18   anytime when it could have come up orally. So that's on the
19   motion to intervene, not there; the opening statements to the
20   preliminary injunction hearing, not there, and we're trying to
21   prove a negative, but it wasn't mentioned; and, lastly, the
22   closing on the preliminary injunction hearing, and literally
23   the only words referenced on the issue is they are their
24   processing concerns about personal jurisdiction. That was it.
25   It wasn't even really an objection. It was more an expression
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 12 of 56 PageID #:21700
                                                                               12


 1   of concern about the issue.
 2               So, again, Ross, four times, including substantive
 3   argument. Our case twice, no substantive argument. So the
 4   difference in quality and quantity, okay.
 5               And, lastly, in Ross, again, I'm just going to
 6   reiterate the point I made initially, the issue of personal
 7   jurisdiction was raised before the district court ruled.
 8   Here, I don't know whether this was intentional or not, but
 9   it's almost as if Robert Rogan was waiting to see how this
10   court would rule. If you went their way, no need to object to
11   personal jurisdiction. If you went against them, then they
12   raised the objection. And that's the problem with doing it
13   the way they did it because once the party has participated,
14   they've consented to the decision-making of the court.
15               THE COURT: Can I ask you a question? It's off
16   point, but I was trying to track down this morning, you know,
17   in the decision I issued on the preliminary injunction motion
18   that's dated October the 9th it says give me a draft order in
19   hard copy by October the 15th, and I was trying to figure out
20   which order that was, and the one that I came up with is this
21   one that was signed and entered on the 16th of October which
22   is entitled Order Amending Temporary Restraining Order With
23   Asset Freeze and Other Equitable Relief to Wachovia Bank,
24   Citibank and Bank of America, and it basically strikes certain
25   provisions of the TRO with regard to Robert Rogan's account at
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 13 of 56 PageID #:21701
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 1   Bank of America, Sara Caitlin Rogan's account at Bank of
 2   America, Brian Rogan's account at Bank of America, Brian
 3   Rogan's account at Wachovia Bank, and then some things about
 4   Citibank credit cards. Is that the order that embodies the
 5   preliminary injunction?
 6               MR. AIZENBERG: I believe that was the order that
 7   effectuated the preliminary injunction.
 8               THE COURT: So, I mean, basically the preliminary
 9   injunction took stuff off.
10               MR. AIZENBERG: Yes, because there was no preliminary
11   injunction directly against these individuals.
12               THE COURT: Right. So do you agree with that, that
13   that was --
14               MR. MYLES O'ROURKE: I do agree with that. Actually
15   that was actually effectuating your preliminary injunction
16   order.
17               THE COURT: All right. All right. Had you finished
18   what you wanted to say, Mr. Aizenberg?
19               MR. AIZENBERG: I have finished.
20               THE COURT: Okay. Let me hear from you.
21               MR. MYLES O'ROURKE: Your Honor, on the waiver
22   argument, as you're familiar, we made the objection in the
23   preliminary motion to intervene. Like the respondent Bustos
24   in the SEC versus Ross case --
25               THE COURT: Tell you what. I'd like to get past this
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 14 of 56 PageID #:21702
                                                                               14


 1   issue of waiver for a second. I want to talk to you about
 2   something more substantive, because I read the Ross decision,
 3   and I'm looking at -- I guess it starts on page 1141, carries
 4   over after that. And, of course, Ross is an SEC enforcement
 5   proceeding where a receiver is trying to get disgorgement
 6   from, I guess, sales representatives who were not parties to
 7   the underlying action. And on page 1141 there's a heading
 8   that says Nominal Defendants in Summary Proceedings, and then
 9   there's a subheading A that says Nominal Defendant
10   Designation. And it talks about -- and it distinguishes the
11   Ross case. It basically says that the Ninth Circuit had
12   recognized a truncated form of process in certain types of
13   situations, and it says the following. It says: "Although
14   the paradigmatic example of a nominal defendant as a bank or
15   trustee that has only a custodial claim to the property, the
16   term is broad enough to encompass persons who are in
17   possession of funds to which they have no rightful claim, such
18   as money that has been fraudulently transferred by the
19   defendant in the underlying securities enforcement action." I
20   left out the cites.
21               Goes on to say that Bustos, the person who's
22   objecting in this case, doesn't fall into any of those
23   categories, there's no contention -- there's no evidence that
24   he received fraudulent transfers, and basically the conclusion
25   in that section at the very end, which is over on page 1142,
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 15 of 56 PageID #:21703
                                                                               15


 1   says: "We don't believe the Constitution permits the receiver
 2   to use the nominal defendant designation to deprive one whose
 3   only plausible basis for liability is a violation of the
 4   securities laws of either his right to full and formal service
 5   of process or his right to fully litigate the question of his
 6   own liability under the securities laws."
 7               What I read that as saying is that in a situation
 8   like the one in Bustos -- or like the one in SEC versus Ross
 9   in which Mr. Bustos was the objecting party, where the
10   contention against the nonparty is that they themselves
11   violated the law or did something wrong, then you have to
12   treat them just like you would any other party in a lawsuit
13   because they're a party in a lawsuit effectively, but that
14   there are other situations that fall short of that in which
15   you don't have to treat them as a party in a lawsuit, one of
16   which is the recipient of a fraudulent transfer, which is
17   exactly what I found that the plaintiff had established a
18   reasonable likelihood of success on in this case.
19               And then the second thing, the sort of the
20   preliminary point in Ross at page 1138 is it says: "Before a
21   court may exercise the state's coercive authority over a
22   person or property, some statute must authorize the act."
23   Now, in this case, of course, there's the Illinois
24   supplementary proceedings statute. And so putting aside
25   completely the question of waiver or forfeiture of the point,
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 16 of 56 PageID #:21704
                                                                               16


 1   I guess I'm just not seeing how Ross governs this case even if
 2   there's no waiver or forfeiture issue.
 3               MR. MYLES O'ROURKE: Your Honor, if I may, just to
 4   respond to that.
 5               THE COURT: Yes.
 6               MR. MYLES O'ROURKE: The receiver in Ross did make
 7   the arguments, did present the arguments that the money that
 8   was given to Bustos was ripe for disgorgement because there
 9   were commissions that were not earned.
10               THE COURT: Right, but the court rejected that,
11   unlike what I did in this case.
12               MR. MYLES O'ROURKE: Right. However, and the same
13   point, one of these trusts, the domestic trust, actually holds
14   Robert Rogan's home, to which he lives in, pays bills on. I
15   mean, there's inferences that --
16               THE COURT: Have I been told that before right now?
17               MR. MYLES O'ROURKE: You made a finding in your
18   preliminary injunction order that it's -- from evidence
19   submitted by Dexia or from some papers that indeed that the
20   Cashman -- Robert Cashman Rogan domestic trust owns his home.
21               THE COURT: I got the preliminary injunction
22   decision.
23               MR. MYLES O'ROURKE: I'll get you the preliminary
24   injunction order.
25               MR. MICHAEL O'ROURKE: It's in your October 9th
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 17 of 56 PageID #:21705
                                                                               17


 1   preliminary injunction order.
 2               MR. MYLES O'ROURKE: The October 9th.
 3               THE COURT: Just tell me where.
 4               MR. MYLES O'ROURKE: But that's really where we --
 5   where I believe this case falls within --
 6               THE COURT: Okay, but the trust -- wait a second. I
 7   think you're mixing apples and oranges here because the
 8   preliminary injunction that you're dealing with here, I mean,
 9   nobody opposed the entry of a preliminary injunction vis-a-vis
10   the trust. Nobody opposed that. You didn't oppose it.
11   Nobody opposed it. I mean, that's pointed out several times
12   in this order.
13               What the preliminary injunction order deals with are
14   moneys that had been distributed from the trust or from other
15   Peter Rogan connected entities or persons, I guess, to the
16   Rogan children. I mean, nobody contested the entry of a
17   preliminary injunction regarding the trust, and so, okay,
18   maybe the trust does hold his home, and maybe what you ought
19   to be asking me if that's a problem, if he wants to sell the
20   place or something, is this really isn't part of any
21   fraudulent conveyance, you know, lift that, but I'm not
22   sure -- what does that have to do with what we're talking
23   about here today?
24               MR. MYLES O'ROURKE: It has to do with if you're
25   seeking to under -- if what you're doing is you're seeking to
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 18 of 56 PageID #:21706
                                                                               18


 1   have Robert Rogan and his accounts that control, you know --
 2   and the funds in those trusts, the trust controls his home, if
 3   you want to have personal jurisdiction over those funds, you
 4   need personal jurisdiction over the res, and that is, you need
 5   personal jurisdiction --
 6               THE COURT: R-E-S, res, R-E-S.
 7               MR. MYLES O'ROURKE: -- over the holder. The res.
 8   Sorry for the use of the Latin, but -- and that really is --
 9   that's really what we're -- we're really fighting here is that
10   Robert Rogan, if -- to take Dexia's position, if there was a
11   fraudulent conveyance claim against a person, they could be
12   hailed, that person could be hailed -- hailed before any court
13   in the United States based upon the claim, based upon that
14   claim. And no one would be able to contest personal
15   jurisdiction as Dexia argued. Nobody would be able to contest
16   it because by coming into court they would have waived that
17   personal jurisdiction argument.
18               THE COURT: So are you telling me that you think that
19   the preliminary injunction that I entered relating to the
20   domestic trust that's for the benefit of Robert Rogan, that
21   there's something legally infirm about that? I'm not talking
22   about the preliminary injunction as it's directed to the bank
23   accounts that are in the name of Robert Rogan. Are you saying
24   there's something infirm about the preliminary injunction that
25   relates to the domestic trust for his benefit?
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 19 of 56 PageID #:21707
                                                                               19


 1               MR. MYLES O'ROURKE: I don't find anything infirm
 2   about your preliminary injunction order whatsoever.
 3               THE COURT: So why are you talking to me about the
 4   house, then? Because that's the only way the house is tied
 5   up, because of an order that you just told me and that I'd
 6   been led to believe before that there wasn't any opposition.
 7               MR. MYLES O'ROURKE: I do have a -- and I do believe
 8   that we've preserved our objections to personal jurisdiction,
 9   and I do believe that to go forward on a turnover of these
10   assets and these trusts, at least to which are titled in
11   Robert Rogan's name and which he's been a beneficiary on, it
12   would need to be a finding of personal jurisdiction.
13               THE COURT: Time out.
14               I entered a preliminary injunction. I don't know how
15   long ago that was, but it was before October the --it was
16   before I ruled on the preliminary injunction order that we're
17   dealing with here today dated October the 9th, you know.
18   Those are -- preliminary injunctions are appealable orders.
19   Somebody could have appealed that. Nobody appealed it.
20   Nobody objected to it. It's clear nobody objected to it.
21   Never. There was never any objection to that. And if there
22   was any doubt about that when I said it at least twice and
23   probably more than twice in the October 9th opinion, there's
24   been no objection to the entry of a preliminary injunction
25   regarding the trust, and somebody should have popped up and
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 20 of 56 PageID #:21708
                                                                               20


 1   said, hey, Judge, you're wrong about that, we really did
 2   object to that.
 3               And the other problem that I have here is if the
 4   injunction, the preliminary injunction that I entered, which
 5   we just established is embodied in this order of October the
 6   16th, which was entered on the docket on October the 16th, why
 7   didn't somebody appeal that?
 8               MR. MYLES O'ROURKE: Judge, I believe that there's a
 9   --
10               THE COURT: It's an appealable order.
11               MR. MYLES O'ROURKE: Right. I understand. And I
12   just wanted to deal with that, that there is a difference
13   between enjoining for preserving the status quo. In this case
14   the injunctive relief was prompted not by Robert Rogan's
15   actions. It was by some other parties', some of which are
16   represented in this courtroom, but it was by other actions
17   taken by other people, and what we're talking about now for
18   a -- to go forward on a mandatory -- well, which would amount
19   to a turnover of assets, that is about people who have rights
20   to be disputed that -- in which we need personal jurisdiction.
21   There was no objection that he could reasonably have made to
22   this court's --
23               THE COURT: To holding it in place. I get your point
24   about that. What you're telling me now is that, okay, you
25   didn't object to enjoining the trust, but that doesn't mean
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 21 of 56 PageID #:21709
                                                                               21


 1   you're not objecting to turning over the assets in the trust,
 2   which I recognize is a separate proceeding. And, I mean, you
 3   know, Dexia is going to have to prove to me at some point in
 4   time whether particular assets in these things that are just
 5   all kind of sitting there in a state of suspended animation
 6   get turned over or not. Okay, I get that.
 7               All right. Tell me what else you'd like to tell me
 8   on this personal jurisdiction issue.
 9               MR. MYLES O'ROURKE: I mean, as to the -- as to --
10   about objecting to the action of others and that led you to
11   make your preliminary injunction finding based upon Dexia's
12   motion, emergency motion for ex parte relief, it was -- it
13   was -- the problem is it really puts Robert in a trick box
14   because if he participates extensively in that proceeding, he
15   waives his personal jurisdiction. You made findings
16   throughout your personal --
17               THE COURT: Do you know what. I agree with you.
18               MR. MYLES O'ROURKE: Throughout your --
19               THE COURT: I agree with you on that. You don't have
20   to argue that point anymore. I agree with you. You've
21   convinced me on that one.
22               MR. MYLES O'ROURKE: And you made findings on page 3,
23   pages 6 and page 12 that Rob Rogan and the other children --
24   I'm just going to streamline it and say Rob Rogan; you
25   mentioned other children -- presented no evidence why Peter
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 22 of 56 PageID #:21710
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 1   Rogan should be enjoined. They presented no --
 2               THE COURT: Why he should not be.
 3               MR. MYLES O'ROURKE: Why he ought not be enjoined.
 4               THE COURT: Right, right.
 5               MR. MYLES O'ROURKE: They presented no, you know,
 6   evidence.
 7               THE COURT: Your point basically is that, hey, wait a
 8   second, my assets are frozen. If by coming in and saying,
 9   hey, please unfreeze my assets, I'm going to be deemed to have
10   waived personal jurisdiction, it just isn't fair.
11               MR. MYLES O'ROURKE: I'm in a trick box.
12               THE COURT: Yeah, I get it. That's the point the
13   Ninth Circuit made. I agree with you. I agree with you. But
14   I don't think that wins the day for you.
15               I'm not comfortable with relying on this waiver of
16   forfeiture issue, and I think I may well have made, you know,
17   an incorrect ruling on that in the October 9th decision,
18   although it was only an alternative holding. In the October
19   9th decision, and specifically on -- in the October 9th
20   decision and specifically -- when I was talking about venue.
21   We'll come back to the waiver issue in a second, but when I
22   was talking about venue and I said at the bottom of page 11
23   that the Rogan children likely have waived any objection to
24   venue by intervening, citing a couple of district court cases,
25   I went on to say that even if that were not the case, venue is
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 23 of 56 PageID #:21711
                                                                               23


 1   proper here because the current proceedings are supplementary
 2   post-judgment collection proceedings that arise from the
 3   court's entry of a judgment against Rogan, namely, Peter
 4   Rogan. The events that gave rise to the "cause of action,"
 5   namely, Dexia's collection efforts, took place in this
 6   district, so even if venue must be determined separately, for
 7   post-judgment proceedings it's been established. And so the
 8   idea that there had been a waiver of any objection to venue
 9   was an alternative holding.
10               On the question of whether this was raised often
11   enough, I think it was. I mean, the one thing that I would
12   fault, I guess, is that even though there's a mention of this
13   in the motion to dissolve itself, there's no mention of it in
14   the memorandum. And, honestly, what I relied on in making the
15   decision was what was argued in the memorandum. And I did
16   that essentially for the reason that, you know, you often hear
17   courts say that it's one thing to just make a point in a
18   sentence or two, it's another thing to develop it, and
19   undeveloped points are forfeited. And so I relied on the
20   points that had been developed in the memorandum, and,
21   frankly, I think that's what Dexia did too because in their
22   response they only address the things that are in the
23   memorandum.
24               Having said that, I do think -- I mean, it clearly
25   was raised in the motion to intervene. It was raised in the
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 24 of 56 PageID #:21712
                                                                               24


 1   motion to dissolve. And I agree, as I said a minute ago, with
 2   Mr. O'Rourke's point that the situation that Robert Rogan
 3   found himself in is that, okay, either I sit here and say
 4   nothing and my assets remain frozen or I come in and ask to
 5   say something and then I'm deemed to have waived any objection
 6   to personal jurisdiction. I think the Ninth Circuit has a
 7   pretty decent point about that, is that a coerced waiver
 8   really isn't a waiver. And so I agree with that point.
 9               However, I don't think that Fine governs this case
10   for the reasons that I was suggesting when I was asking
11   questions of Mr. O'Rourke a couple of minutes ago. First of
12   all, in this case, unlike in the SEC versus Fine case, there
13   is a statute that authorizes the act, and that's, as I
14   discussed in the preliminary injunction decision, the Illinois
15   supplementary process statute. And to the extent that Fine,
16   which is a different sort of a proceeding that has some
17   similarities but also some significant differences --
18               MR. MYLES O'ROURKE: Your Honor, if I can interrupt.
19   It's Ross, SEC versus Ross.
20               THE COURT: I keep saying Fine. Why do I say Fine?
21   There's a case called SEC versus Fine.
22               MR. MYLES O'ROURKE: I want to make sure if it's
23   Fine.
24               THE COURT: There is a case called SEC versus Fine.
25   Why am I thinking of that?
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 25 of 56 PageID #:21713
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 1               Ross. Thank you for stopping me.
 2               The situation that was at issue in SEC versus Ross is
 3   similar to this type of case. There's some significant
 4   differences, but it's similar so that I think the discussion
 5   in the case does have a bearing on what I have to do. But
 6   what the court says at page 1141 -- that's 504 F3d 1141. This
 7   is a Ninth Circuit decision from 2007. It recognizes an
 8   alternative means of proceeding, in other words, short of
 9   service of a summons and the -- all the full panoply of
10   personal jurisdiction findings that one would have to make in
11   a case in which a person is claimed to have, you know,
12   violated somebody else's rights. It recognizes an exception
13   to that in a situation in which, as the court says, a person
14   who is in possession of funds to which he has no rightful
15   claim, such as money that has been fraudulently transferred by
16   the defendant in the underlying action. And that's
17   essentially the situation here. I mean, I found -- I made
18   findings, at least for purposes of the preliminary injunction,
19   that the plaintiff had shown a reasonable likelihood of
20   success on its contention that Mr. Rogan, Robert Rogan, was
21   the recipient of fraudulent transfers. And the Ninth Circuit
22   says in that case that in that type of a situation that's an
23   exception to the normal requirement of serving a summons and
24   having the same type of minimum contacts that you would
25   normally have in a case in which the defendant's conduct is at
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 26 of 56 PageID #:21714
                                                                               26


 1   issue, and it makes that point clear at the tail end of that
 2   part of the discussion at page 1142 where it says you can't
 3   call somebody a nominal defendant in the manner that I've just
 4   described when their only plausible basis for liability is
 5   their own violation of the securities laws. There's no
 6   contention here, at least that I've dealt with yet, that
 7   Robert Rogan himself did anything wrong. I think I made a --
 8   essentially made a finding for purposes of the preliminary
 9   injunction that the children seem to have been the innocent
10   beneficiaries of Peter Rogan's wrongdoing, but I think that
11   that essentially means that the Ross case does not govern this
12   one.
13               And so putting aside any question of waiver, I think
14   that there's a -- there is a sufficient basis to assert
15   jurisdiction in this case. And so the motion to dismiss for
16   lack of personal jurisdiction is denied.
17               So as far as the schedule is concerned, let me just
18   eyeball this again for a second here, and then I'll get to the
19   Cuppy matter momentarily.
20               Give me a sense. You've basically got a two-month
21   period in here from mid December to mid February where you're
22   going to be taking depositions. Have you given any thought as
23   to how many depositions you're talking about?
24               MR. MICHAEL O'ROURKE: Your Honor, we're really in
25   the neighborhood of, I think, between 10 and 20.
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 27 of 56 PageID #:21715
                                                                               27


 1               THE COURT: Guys.
 2               MR. MICHAEL O'ROURKE: To give you a rough number.
 3               THE COURT: Well, I guess you'll know that better
 4   when you do the 26(a)(1) disclosure --
 5               MR. MICHAEL O'ROURKE: Yes.
 6               THE COURT: -- which that's the primary purpose of
 7   that. Okay.
 8               And have you given any thought yet or discussed yet,
 9   as far as -- because at least some of the people, including
10   one or maybe two of the Rogan children, are not in town. I
11   mean, I know Robert's in California. Have you talked about
12   where you're going to do their depositions?
13               MR. MENDELOFF: We haven't talked about that.
14               MR. MICHAEL O'ROURKE: We have not talked about that,
15   but two of the Rogan children are in town.
16               THE COURT: Two are in town, one's not.
17               Well, the default rule is that, you know, the
18   deposition of a nonresident happens where the nonresident is.
19   And I can imagine reasons why people might say it's cheaper
20   for him to come here than for his lawyers to go out there, but
21   I'm going to leave that to you all in the first instance to
22   decide.
23               But this schedule looks fine to me. I guess what I'd
24   like to do -- what we're talking about here is this is
25   essentially the anticipated motion for turnover relating to
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 28 of 56 PageID #:21716
                                                                               28


 1   the children's interests in the various trusts; is that right?
 2               MR. MENDELOFF: That's correct.
 3               MR. MICHAEL O'ROURKE: In the children's trusts, Your
 4   Honor.
 5               THE COURT: In the children's trusts. Well, this
 6   also says the RPP.
 7               MR. MENDELOFF: And the RPP.
 8               MR. MICHAEL O'ROURKE: And the RPP, yes. I'm sorry.
 9   And RPP.
10               THE COURT: It would seem to me that I ought to go
11   ahead and set a hearing date so that you have something that
12   you can point towards and lock in. So let me just pull up a
13   calendar here.
14               What I would propose to you would be something like
15   the beginning of May, you know, a little more than a month
16   after you're going to be finishing up this discovery. I just
17   need to check. I could give you something like the 4th of
18   May.
19               MR. MENDELOFF: That's great, Your Honor.
20               THE COURT: Does that work?
21               MR. MICHAEL O'ROURKE: Let me check my schedule, but
22   that should work.
23               THE COURT: Well, I'm going to tentatively set it for
24   a -- we're calling it for a hearing on the -- I mean, you
25   haven't actually filed this motion for a turnover order yet,
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 29 of 56 PageID #:21717
                                                                               29


 1   but you'll have to file -- I assume you have to file a motion
 2   at some point.
 3               MR. MENDELOFF: Original motion requesting turnover.
 4               THE COURT: Okay. Hearing on plaintiff's request for
 5   turnover of Rogan children's interests in the domestic trust
 6   and the Belize Trusts and the RPP Finance Trust, I'm going to
 7   set that for the 4th of May. And so I'm going to give you a
 8   status date on that part of the case let's say in about two
 9   months. I'm going to give you a status date of January the
10   27th at 9:30. Okay.
11               MR. MICHAEL O'ROURKE: Your Honor, could I -- on that
12   topic about the motion for turnover, there is really nothing
13   in the motion for turnover which sets out any cause of action
14   against the Rogan children.
15               THE COURT: You know, I'm going to make a suggestion
16   here because now that you've reminded me, there's no question
17   it's in there, but that's in that pile of paper that's about
18   as -- you know, half as tall as I am. I think it would not be
19   a bad idea at some point, and I'll give you a date for this
20   that's reasonable, for you to set out specifically as to these
21   particular interests what your grounds for a turnover are.
22               MR. MENDELOFF: We actually talked about that, Your
23   Honor.
24               THE COURT: Did we?
25               MR. MENDELOFF: I think that's a good idea. And what
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 30 of 56 PageID #:21718
                                                                               30


 1   we had talked about is setting up a schedule for both parties
 2   to lay out their theories so that people know -- they know
 3   where we're coming from, we know what their defenses are.
 4               THE COURT: Yeah, but I'd like you to file some sort
 5   of a more focused motion. So what if I gave you until the
 6   same December 8th date to do that.
 7               MR. MENDELOFF: Sure.
 8               MR. MICHAEL O'ROURKE: That would be great, Judge.
 9               THE COURT: Okay. 12/8. I'll put that in the order
10   too.
11               MR. MICHAEL O'ROURKE: And the only thing that I
12   would add, Judge, is it may be covered in the March 31 date
13   that's set out in this schedule, but we haven't specifically
14   talked about dispositive motion cutoff dates, and we will be
15   making motions on statute of limitations on the theories that
16   we believe are going to be raised by Dexia.
17               THE COURT: Okay. So this is what I'm inclined to
18   do. I'm inclined to make that date not go at the end of the
19   expert stuff because it's probably not going to be affected by
20   the experts. So your fact discovery cutoff date is February
21   the 15th, so I'm going to make the dispositive motion date
22   three weeks after that.
23               MR. MICHAEL O'ROURKE: That sounds great.
24               THE COURT: That would be March the 9th. Okay. So
25   I'll add that.
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 31 of 56 PageID #:21719
                                                                               31


 1               You'll get an order which will have all these dates
 2   in it.
 3               MR. MICHAEL O'ROURKE: Great. Thank you.
 4               MR. MENDELOFF: Great.
 5               THE COURT: Okay. So unless you guys have anything
 6   else, I'm done with the Rogan children and I can move on to
 7   the Cuppy stuff unless you've got other stuff.
 8               MR. MICHAEL O'ROURKE: Just one matter, Your Honor,
 9   which I don't want to file a formal motion. I would like to
10   discuss this and hopefully get this cleared up. But my
11   understanding from talking with Mr. Dubovoy, we had a
12   discussion --
13               THE COURT: Mr.?
14               MR. MICHAEL O'ROURKE: Dubovoy, who is -- I'm sorry.
15   I should explain.
16               THE COURT: Who is he?
17               MR. MICHAEL O'ROURKE: Judith Rogan's bankruptcy
18   counsel.
19               THE COURT: Got it.
20               MR. MICHAEL O'ROURKE: Had a conversation with the
21   receiver, Mr. Gene Crane.
22               THE COURT: The person in the Bahamas.
23               My receiver.
24               MR. MICHAEL O'ROURKE: Your receiver.
25               THE COURT: Okay.
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 32 of 56 PageID #:21720
                                                                               32


 1               MR. MICHAEL O'ROURKE: And, Your Honor, out of that
 2   conversation came some what I had not understood before that
 3   there's a business -- there's a relationship between Mr. Crane
 4   and the Howrey firm where they represent him on a matter, and
 5   Dexia also has a business relationship with Mr. Crane, which,
 6   Your Honor, raised the question in our mind of conflict and
 7   independence, and I'd like to have a discussion --
 8               THE COURT: My suggestion is you talk about that. If
 9   there's an issue that you can't resolve, get a motion on file.
10               MR. MICHAEL O'ROURKE: That's what I was going to
11   suggest.
12               THE COURT: And if, you know, you come to some
13   agreement that we're going to plug somebody else in place,
14   that will be fine with me, I mean, assuming that the person is
15   qualified. So I'm just going to leave it to you all to
16   discuss.
17               MR. MICHAEL O'ROURKE: I just want to raise it so
18   Your Honor won't be caught unawares.
19               THE COURT: Okay. All right. So we're done with the
20   Rogan children part. I'm going to move on now to the Cuppy
21   thing. Okay. Let me just get this set of papers put aside
22   and get the other set in front of me.
23               So this is before me on the plaintiff's motion for
24   partial reconsideration of the ruling on the preliminary
25   injunction regarding Mr. Cuppy. I ordered a response to that.
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 33 of 56 PageID #:21721
                                                                               33


 1   There's a response been filed by Mr. Cuppy. Then there was --
 2   there had been -- in the interim there was a motion to
 3   supplement the record, which I entered an order denying, and
 4   as a result of that Dexia withdrew one of the arguments in the
 5   motion for reconsideration.
 6               And so I guess what I would like to hear, since the
 7   last document I got was from Mr. Cuppy's lawyer, is I'd like
 8   to hear from the plaintiff. And then if there's something
 9   that they say that you need to respond to, I'll give
10   Mr. Cuppy's lawyers a chance to respond.
11               MR. MENDELOFF: Thank you, Your Honor.
12               First of all, thank you for hearing us. It's the
13   worst kind of -- one of the worst kind of motions I can have
14   to bring.
15               THE COURT: Motion to reconsider?
16               MR. MENDELOFF: To have to point out to a court that
17   there might be an error. And I hate doing that. But, Your
18   Honor, there are several issues that are raised in the
19   response I'd like to go through one at a time.
20               First, they try to cast this motion as a Rule 59(e)
21   motion. It is not a Rule 59(e) motion. This is not a final
22   judgment.
23               THE COURT: There's no final judgment.
24               MR. MENDELOFF: It's a motion under Rule 54(b).
25               THE COURT: I'm not sure it's even that. I think
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 34 of 56 PageID #:21722
                                                                               34


 1   it's a common law motion to reconsider, frankly.
 2               MR. MENDELOFF: All right.
 3               THE COURT: It's not a motion that -- but I'm not
 4   sure any of that matters.
 5               MR. MENDELOFF: Okay.
 6               And just to cite our position with respect to that,
 7   there's case law in the Seventh Circuit and the Supreme Court
 8   that indicates that interlocutory orders like this can be
 9   reconsidered at any time prior to final judgment.
10               THE COURT: Yes.
11               MR. MENDELOFF: So the request itself is not flawed.
12   So the next question is --
13               THE COURT: As far as I'm concerned, you don't have
14   to worry about arguing, hey, Judge, you flubbed or overlooked
15   something, because you've basically made that point, and I
16   will tell you that when I ruled on this, it may have been
17   available, but I did not have the transcript of the last day
18   of the hearing at which the argument was made. I had very
19   extensive notes of that. And I acknowledge that I may not
20   have dealt specifically with every argument that had been
21   asserted in the -- you know, in the final arguments that were
22   made in that case, and, on the flip side of it, it's entirely
23   possible that I may have ruled on one thing that wasn't even
24   really argued to me, in other words, the 20,000. And that all
25   is part of the same ball of wax.
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 35 of 56 PageID #:21723
                                                                               35


 1               And so let's just talk about the merits of this, in
 2   other words. Don't worry about the threshold issues because I
 3   think that you're close enough on that.
 4               MR. MENDELOFF: Okay, Your Honor.
 5               First of all, there's clear case law that establishes
 6   that -- first of all, there's a Seventh Circuit instruction
 7   that states that argument is not evidence. Argument is not to
 8   be considered as evidence. But there's also case law that
 9   establishes that a party's arguments do not set the contours
10   of what the trier of fact can conclude, and the trier of fact
11   is not limited by a party's arguments, and a party's arguments
12   do not limit the party from thereafter arguing for a larger
13   amount if the trier of fact makes a determination based on the
14   evidence that supports the larger amount.
15               And the case law that I can cite for Your Honor --
16               THE COURT: So when you're saying that, which part of
17   what you're asking for in the motion to reconsider are you
18   talking about?
19               MR. MENDELOFF: I'm talking about --
20               THE COURT: Talking about the 78,000?
21               MR. MENDELOFF: No.
22               THE COURT: Because the 78,000 you clearly asked for.
23               MR. MENDELOFF: Yes. I'm talking about the 25,000.
24               THE COURT: Okay. So let me just give you my
25   reaction to that. I mean, I don't necessarily disagree with
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 36 of 56 PageID #:21724
                                                                               36


 1   anything that you just said as a general proposition of law.
 2   But on the other hand, if the scenario here, as now appears to
 3   be the case, is that when people stood up in front me and said
 4   this is what we want, they said the 300 and whatever it is
 5   thousand dollars and the $78,000, period, okay, honestly, as a
 6   matter of, I don't know what I'd call it, judicial prudence, I
 7   think that it would be inappropriate for me to then say not
 8   just that, but I'm going to give you these other things too
 9   that you didn't even ask for, for this reason, the reason
10   being that, you know, when people make arguments at the end of
11   a hearing like this, necessarily they're reacting to what the
12   other side said. In other words, and if one side gets up and
13   says, okay, Judge, give me this $300,000 and give me this
14   $78,000, then the other side is going to confine themselves to
15   that argument. That's the way lawyers work, and that's the
16   way it ought to work. Then if the judge kind of goes beyond
17   that, and not in the situation where I say, okay, it's your
18   $300,000, but it's really worth more than $300,000, but
19   instead goes on to something else that wasn't asked for, as I
20   evidently did, and said, okay, you know, I'm going to give you
21   this $20,000 too, I don't think that that legitimately opens
22   up other things that were not asked for at the hearing.
23   That's why essentially I denied the motion to supplement the
24   record.
25               And to me, if I made a mistake here, or if I made
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 37 of 56 PageID #:21725
                                                                               37


 1   mistakes here, the mistakes I made had to do with -- the
 2   mistakes I arguably made had to do with the $78,000 that you
 3   asked for that I did not specifically deal with in the motion,
 4   number one, and on the other side the 20,000 that you didn't
 5   ask for that I did deal with.
 6               And I'm just going to tell you that at a minimum here
 7   the one thing I am definitely going to do as part of this
 8   hearing is I'm eliminating that 20,000. And with all respect
 9   to what you just said, I just don't think it's appropriate for
10   me to, now that I look back on it, to have ordered relief that
11   wasn't asked for in this type of scenario. So what I'd like
12   you to do is talk about the 78,000.
13               MR. MENDELOFF: All right, Your Honor. As for the
14   78, we cite in our brief clearly the evidence that establishes
15   that Mr. Cuppy admitted that that $78,000 was a distribution
16   from RPP Finance. And defendants acknowledge that in their
17   brief. I mean, they made this part of the argument quite
18   simple because they indicate that we had thought in our
19   original brief that they would be arguing, no, that that 78
20   wasn't really a distribution to Mr. Cuppy, it was basically an
21   advance reimbursement for paying taxes for RPP, but
22   Mr. Cuppy's brief acknowledges -- and this is, I think, at
23   page 5 -- that -- or states that Cuppy did not testify the
24   distribution had anything to do with RPP's taxes. He was
25   saying that he used the distribution to pay his own taxes.
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 38 of 56 PageID #:21726
                                                                               38


 1               THE COURT: Yeah, but if I'm reading -- the way I
 2   read page 5, the thing you just referred to, is that what
 3   Mr. Cuppy's lawyers are saying that he testified to is that,
 4   yes, it's his own tax obligation that he was supposedly paying
 5   out of the $78,000, but it was his own tax obligation with
 6   regard to income that was attributed to him because he's a
 7   beneficiary of the RPP Trust. In other words, the income tax
 8   obligation essentially flows through to the beneficiary. The
 9   beneficiary has to pay it. And since he's getting stuck with
10   this tax obligation, implicitly what's happening is that the
11   trust is basically giving him the money to pay the tax
12   obligation.
13               MR. MENDELOFF: Whatever, it doesn't make it
14   something other than a distribution.
15               THE COURT: Yeah, but the question is whether it
16   makes it a fraudulent distribution. In other words, the basis
17   on which -- the basis on which I -- as I understand it, that I
18   granted the relief that I did in that order regarding
19   Mr. Cuppy is essentially -- it's roughly similar to the
20   grounds on which I granted relief with regard to the Rogan
21   children, in other words, that there was a reasonable
22   likelihood of success on the proposition that this was a
23   fraudulent -- that something was a fraudulent transfer, and in
24   the case of the 300,000 whatever that was either a loan or not
25   a loan, what I essentially concluded is that -- well, I'm not
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 39 of 56 PageID #:21727
                                                                               39


 1   going to restate my conclusion. That's in the order.
 2               So the question on this would be, yeah, that's a
 3   transfer. Everybody agrees he got the $78,000. The question
 4   is whether Dexia has made a reasonable likelihood of success
 5   or has shown a reasonable likelihood of success for the
 6   proposition that I can grab that.
 7               Go ahead.
 8               MR. MENDELOFF: The only evidence that's credible as
 9   to the corpus of the trust here is that that was provided by
10   Mr. Rogan, which were funds he obtained by fraud, and as a
11   result, Mr. Cuppy's receipt of those funds should not be -- is
12   not proper and is the basis for a fraudulent transfer claim
13   irrespective of what Mr. Cuppy does with it. Mr. Cuppy can
14   use it --
15               THE COURT: So, in other words, it's a fraudulent
16   transfer not because there was no real consideration for it,
17   but it's a fraudulent transfer because they were funds that
18   were obtained by fraud, and it's just like, you know, if I go
19   in and rob a bank of $10,000 and then give the money to you,
20   you don't get to keep it just because you didn't know.
21               MR. MENDELOFF: It's both actually. I think that the
22   fraudulent transfer analysis that you did in your order is
23   applicable, and there is no consideration for this, and, in
24   addition, these are proceeds of fraud. And by the time this
25   happened, I will note, there was adequate information
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 40 of 56 PageID #:21728
                                                                               40


 1   available to Mr. Cuppy for him to have known that, that these
 2   were proceeds of fraud.
 3               THE COURT: And is what you're talking about right
 4   now, is this part of what's in the evidence in connection with
 5   the motion for preliminary injunction, when you say there's
 6   evidence --
 7               MR. MENDELOFF: Yes.
 8               THE COURT: -- that he knew that?
 9               MR. MENDELOFF: Yes, it's in the underlying motion.
10               And, by the way, the 20,000, I'm not asking you to
11   revise it.
12               THE COURT: That was in there too.
13               MR. MENDELOFF: That was in there too.
14               THE COURT: I know.
15               MR. MENDELOFF: That's I think where you probably got
16   it from.
17               THE COURT: That is where I got it.
18               Go ahead.
19               MR. MENDELOFF: So, you know, it's our view that the
20   fact that he's going to turn around and use this money to pay
21   his income taxes -- by the way, we established at the hearing
22   that as to the $40,000 of that 78,000, he did not use it to
23   pay his income taxes and that it is --
24               THE COURT: It's still sitting there.
25               MR. MENDELOFF: It's still sitting there.
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 41 of 56 PageID #:21729
                                                                               41


 1               But even for the other 38,000, the fact that he's
 2   going to use it to pay it for his income taxes doesn't change
 3   the analysis that Your Honor, which we agreed with, that Your
 4   Honor put in the order, and he did not provide any kind of
 5   consideration for this. As Your Honor is aware, we did not
 6   appeal and do not question Your Honor's rationale regarding
 7   his receipt of funds.
 8               THE COURT: Time hasn't run yet, so.
 9               MR. MENDELOFF: Well, we will not be appealing Your
10   Honor's determination that he should be entitled to keep his
11   fees, that he earned them based on the evidence that Your
12   Honor heard. But as to this, there's no question that this
13   was a distribution, and there was no transfer of
14   consideration, and under the rationale Your Honor set forth in
15   your brief -- I mean in your order, we think that it follows
16   that this should be included. And as Your Honor noted, we did
17   argue this.
18               THE COURT: All right. It's Mr. Short, right?
19               MR. SHORT: Yes, sir. Thank you, Your Honor.
20               And I did file an appearance this morning. I
21   apologize. I have one --
22               THE COURT: Don't worry about it.
23               MR. SHORT: -- filed in the matter before Judge
24   Darrah and just had inadvertently had not filed one here.
25               But, Your Honor, let me see if I can follow along
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 42 of 56 PageID #:21730
                                                                               42


 1   here with Mr. Mendeloff's reasoning, focusing on the $78,000,
 2   which I think the court has instructed us to focus on.
 3               The way I read -- and I apologize. Mr. Gregory, as
 4   you know, from our Connecticut office handled the hearings,
 5   but I read the transcripts, including the October 31st one,
 6   and I'm having trouble understanding at the end of that
 7   Mr. Mendeloff seemed to split the $78,000 and say we're only
 8   here to talk about $40,000 of that 78. And that's
 9   specifically --
10               THE COURT: Can I look at -- I had so many papers
11   here.
12               MR. SHORT: No, no, no. Let me find a page number
13   cite for that.
14               THE COURT: It may be attached to your --
15               MR. SHORT: If you look at page 60.
16               THE COURT: Yeah, but I need you to hand me the
17   transcript.
18               MR. SHORT: Oh, sure. Do you mind if it's marked up?
19               THE COURT: Not in the least.
20               MR. SHORT: Do you mind if I approach?
21               THE COURT: That's fine.
22               (Document tendered to the court.)
23               THE COURT: I'm looking at page 60. Let me just take
24   a couple of minutes to read this.
25               (Brief pause.)
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 43 of 56 PageID #:21731
                                                                               43


 1               THE COURT: Okay. So at page 60, and this is the
 2   October 31st transcript, page 60, Mr. Mendeloff starts off
 3   talking about, quote/unquote, the $83,000: There were two
 4   transactions that made that up, the 40,000 that was the
 5   proceeds of the $78,000 distribution from the trustee in the
 6   Bahamas and 43,000 in allegedly earned income. Let's start
 7   with the $40,000 distribution. It's our position that that's
 8   a fraudulent transfer.
 9               Okay. And then there's intervening discussion, and
10   then over on page 66 then there's a discussion about the
11   $43,000: Mr. Cuppy would have us believe that the $43,000
12   that he received, that the 43,000 that he took out of the
13   60,000 that he received, the 43,000 that ended up and is still
14   in the Ameritrade account is all earned money and should not
15   be considered proceeds this court needs to protect.
16               Okay. So, Mr. Short, as you understand it -- I
17   understand where the 40 comes from. The 40 I gather is the
18   part of the 78,000 that, as Mr. Mendeloff said before, is
19   still in -- or at least at the time of the hearing was still
20   in Mr. Cuppy's account. Where do you understand that this
21   other 43 came from?
22               MR. SHORT: Oh. Do you know what, I apologize. That
23   wasn't meant to be. That was just an old markup.
24               THE COURT: Fine. Okay.
25               MR. SHORT: I was just saying that the 40 of the 78
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 44 of 56 PageID #:21732
                                                                               44


 1   was -- when I read the transcript --
 2               THE COURT: That's what you understood to be the
 3   issue.
 4               MR. SHORT: Yeah. But now he's asking for the entire
 5   78, which, again, you know, you're receiving and taking in
 6   quite a tremendous amount of information in these hearings and
 7   then trying to rule within a week, which we appreciate the
 8   effort because, of course, Mr. Cuppy wanted you to rule as
 9   quickly as possible so his accounts could be unfrozen, but I
10   don't understand Mr. Mendeloff if he asked for specifically 40
11   of the 78 at that last hearing --
12               THE COURT: Well, talk to me about the 40, then. I'd
13   rather stop talking about what we're going to talk about and
14   just talk about it.
15               MR. SHORT: Okay. My understanding at pages -- and I
16   can show you the pages at the earlier Cuppy hearing.
17   Mr. Cuppy on pages 37 and 54 of the -- I guess this is the
18   October 31st hearing. He's asked about this 78,000
19   distribution, and at page 54 he says --
20               THE COURT: This is which, the first day or the
21   second day?
22               MR. SHORT: I'm sorry, Your Honor, the second day,
23   October 31st, 2008.
24               Mr. Mendeloff asks:
25               "And did you receive any money in 2008 from the RPP
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 45 of 56 PageID #:21733
                                                                               45


 1   Trust?
 2               "Answer: Yes. I received that one distribution in
 3   January for the income of '07 that the trustees gave me as a
 4   distribution, although it wasn't enough to cover the tax.
 5               "Question: And that 78,000 distribution when it was
 6   made, whose money was it?
 7               "Answer: It was mine. It's been made to me as a
 8   distribution of that trust."
 9               So, now, when I read this in preparing for today and
10   the fact that Mr. Mendeloff specifically asked and requested
11   as part of his relief at that hearing the $78,000, in
12   preparing today I assumed, again, not being present at the
13   hearing, that when you issued your memorandum and opinion on
14   November 10th that you had considered Mr. Mendeloff's
15   arguments on the $78,000 and found that, no, that wasn't --
16   I'm not finding a reasonable likelihood of success on that
17   $78,000 claim, there was testimony that indicated that it was
18   distributed to pay taxes, that Mr. Cuppy testified to that.
19   So but now I hear Your Honor, if I'm correct in understanding,
20   that you may not have looked at it as closely as --
21               THE COURT: I'm going to tell you something. If you
22   would go back and parse the words that I said earlier in this,
23   I have not exactly told you that. I haven't answered that
24   question yet. I said that I did not deal with it specifically
25   in the order.
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 46 of 56 PageID #:21734
                                                                               46


 1               MR. SHORT: Okay.
 2               THE COURT: I have not said one way or another as to
 3   whether I dealt with it in my head.
 4               MR. SHORT: Okay.
 5               THE COURT: Because I certainly was aware that the
 6   $78,000 was out there.
 7               MR. SHORT: So, I mean, I think our opinion is at
 8   this point there was testimony to support your position in
 9   your order which denied his request for the $78,000 to be
10   frozen, so I don't know if I need to reargue it other than
11   there was testimony --
12               THE COURT: But let's talk about what
13   Mr. Mendeloff -- one of the things Mr. Mendeloff said here
14   this morning. Still morning, right, yeah. And that is, okay,
15   even if you buy Mr. Cuppy's story that the $78,000 was given
16   to him to offset a tax obligation that he incurred by reason
17   of his status as a beneficiary in the trust, that it doesn't
18   hold water because he's still got $40,000 of it. And this
19   distribution was made in early 2007, if I'm recalling
20   correctly, over 18 months ago. Whatever the tax obligation
21   was, it would have come due way before that, and so you can't
22   buy the story at least as to the 40,000 is concerned, and so
23   that 40,000, his story doesn't hold up. Therefore, it's a
24   transfer without consideration. For that reason and other
25   reasons he said at least grab the $40,000.
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 47 of 56 PageID #:21735
                                                                               47


 1               MR. SHORT: Okay.
 2               THE COURT: Deal with that. I mean, because that is,
 3   I think, an accurate characterization of Mr. Cuppy's -- of the
 4   evidence. In other words, Mr. Cuppy said, and I kind of agree
 5   with the way your memorandum characterizes this, is what he
 6   was saying is not that he was paying a tax that the trust had
 7   incurred, but rather that the tax obligation flows through the
 8   trust to the beneficiaries. He gets stuck with the tax
 9   obligation as a result of being a beneficiary. The trust is
10   making a distribution to him in order for him to take care of
11   that. Okay, I get it so far. But there's still $40,000 of
12   the 78 that he got that's still sitting there, so either he
13   owes Ms. Wawzenski's client some money in a completely
14   different way or the story is just completely wrong.
15               MR. SHORT: Your Honor, I can't -- I would have to --
16   to address the merits of what the 40,000 was used for by
17   Mr. Cuppy, I have to rely on his testimony. In other words, I
18   don't have him with me. I can't say that I've specifically
19   discussed that. It would be unfair of me --
20               THE COURT: Okay. So rely on his testimony. What
21   does his testimony say?
22               MR. SHORT: That he paid -- well, I think there were
23   two arguments that were made on that, number one, that he
24   utilized the money to pay taxes and, number two, that he is
25   entitled to distributions from the trust as a beneficiary
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 48 of 56 PageID #:21736
                                                                               48


 1   because of his initial investment into the RPP Trust, and that
 2   was addressed in our brief.
 3               THE COURT: His initial investment? He put money in
 4   there at the beginning, and there's evidence of that at the
 5   hearing?
 6               MR. SHORT: Yes.
 7               THE COURT: Okay.
 8               MR. SHORT: Yes. And I can cite, at least in our
 9   response brief, Your Honor, we cite to September 29, 2008,
10   hearing transcript, page 71 and 72.
11               MS. KREJCI: It's the second page.
12               MR. SHORT: It's lines, starting on line 19 on page
13   71.
14               THE COURT: Mr. Cuppy is asked: Isn't it a fact
15   that -- I'm just paraphrasing. Isn't it a fact that Mr. Rogan
16   formed RPP by contributing his own funds? Mr. Cuppy says he
17   contributed funds. Did anyone else contribute? I contributed
18   to the corporation -- I think he means the trust, RPP Limited.
19   I contributed to the corporation because it was set up
20   previous to Mr. Rogan contributing funds to the trust
21   agreement.
22               MR. MENDELOFF: Your Honor, he doesn't mean the
23   trust. The trust owns the corporation.
24               THE COURT: The trust owns the corporation. But the
25   corporation was created before the trust was, and so then the
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 49 of 56 PageID #:21737
                                                                               49


 1   trust -- the corporation was then contributed by somebody to
 2   the trust to form part of the corpus of the trust.
 3               MR. MENDELOFF: By Rogan. And that's in the trust
 4   agreement, which is part of the record.
 5               THE COURT: Part of the record.
 6               MR. MENDELOFF: And also, to address that, in the
 7   trust agreement, in that exhibit there is a deed of
 8   appointment transferring the trustee's interest, changing
 9   trustees to the other two gentlemen in the Bahamas we've
10   talked about, and in that agreement, which Mr. Cuppy signed,
11   Mr. Cuppy indicates -- the agreement indicates that the
12   property in the trust was provided by the settlor, Mr. Rogan.
13   It doesn't say anything about Mr. Cuppy providing anything.
14               THE COURT: Go ahead, Mr. Short.
15               MR. SHORT: Your Honor, if I may, and let me see if I
16   can -- since it is still morning, and perhaps I can save you
17   some time of what's left of the morning. If I understand
18   where we're currently standing as we're talking right now, the
19   $305,000 that was said to be frozen as property and we're
20   working with counsel on that, that's not in issue this
21   morning. What started this issue --
22               THE COURT: Can I just ask -- I know I'm interrupting
23   you, so keep a mental note of where you are.
24               MR. SHORT: Yes, sir.
25               THE COURT: Just to ask a practical question about
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 50 of 56 PageID #:21738
                                                                               50


 1   this. And I know Mr. Cuppy was testifying at the hearing.
 2               MR. SHORT: Yes.
 3               THE COURT: What do we think the value is of the
 4   property that it is that he's going to try to sell and he said
 5   he was going to try to sell to satisfy that obligation?
 6               MR. SHORT: He's got a sale of -- a contract for sale
 7   at $290,000.
 8               THE COURT: That's just a little short of 305.
 9               MR. SHORT: It's going to be hopefully closing, I
10   heard, November 24th or 26th. But what I was going to
11   suggest, you know, right now if what this has whittled down to
12   is that on top of the 305 that the court wants collateralized
13   or secured and we're at this $40,000 of the 78, we're at 345.
14   We started today at 325.
15               THE COURT: 25.
16               MR. SHORT: Out of respect for Mr. Cuppy that he's
17   incurring fees by my continued participation in this, if
18   that's where we're at, I mean, without waiving any rights or
19   arguments that that $40,000 is not a fraudulent transfer and
20   it shouldn't be subject to attachment at the turnover, I think
21   I'm willing to just say that's fine. If that's what he's
22   asking for is for us to secure the 305 in the effort that
23   we're doing on this with debating some ideas of how we
24   collateralize --
25               THE COURT: In other words, you're telling me without
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 51 of 56 PageID #:21739
                                                                               51


 1   prejudice to you arguing that ultimately it shouldn't be
 2   turned over, you're willing to swallow that 40 on top of the
 3   305 at least for the time being?
 4               MR. SHORT: Yeah, for the grand total of 345, and we
 5   started at 325.
 6               THE COURT: I'm ready to rule.
 7               MR. SHORT: Save you some time, save him some fees,
 8   and let's move on.
 9               THE COURT: Here's my ruling on the motion to
10   reconsider. It's granted in part. And just to reiterate what
11   I said before and with -- understanding what Mr. Mendeloff
12   told me about how a court isn't limited by arguments, I think
13   I've explained why it is I think in this situation that it is
14   appropriate for me to limit the relief that I ordered to what
15   the person has argued for and asked for, for a variety of
16   reasons, and so I'm going to modify the decision in one
17   respect to eliminate the $20,000 transfer that I referred to
18   as a fraudulent transfer because it wasn't specifically asked
19   for. And that, of course, is without prejudice to Dexia
20   coming back to me later at the turnover hearing and say we
21   should get that and plus more.
22               On the flip side of it, I think that there's been a
23   reasonable likelihood of success on a showing that 40,000 of
24   the 78,000 that was transferred from the RPP Trust to
25   Mr. Cuppy in early 2007 was a fraudulent transfer. First of
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 52 of 56 PageID #:21740
                                                                               52


 1   all, I don't think the entirety -- I don't think that showing
 2   has been made as to the entirety of the 78,000, the reason
 3   being that when you have a situation here as it's been
 4   described to me and I can't make a finding that Mr. Cuppy's
 5   testimony in this particular respect was not credible, when
 6   you have a situation that a trust beneficiary incurs a tax
 7   obligation by reason of his status as a beneficiary, I don't
 8   think I can call a transfer that's made from the trust to the
 9   beneficiary to allow him to pay that tax obligation to be a
10   transfer without consideration. Not consideration in the
11   normal sense, but he incurs an obligation as a result of his
12   status as a beneficiary. And if he has to be given money so
13   that he doesn't have to satisfy that obligation out of his own
14   personal funds, then I'm not prepared to say that there's been
15   a showing that that part of the transfer is fraudulent.
16               On the other hand, the evidence at the hearing tends
17   to show and there's a reasonable likelihood of success on the
18   showing that 40,000 of the 78 wasn't transferred for that
19   purpose, basis being it wasn't used for that purpose, and so
20   without any other basis for that transfer, I think there's a
21   reasonable likelihood of success that the other 40 is a
22   fraudulent transfer.
23               So the order is modified to provide at the tail end
24   that -- and I'm talking here about -- well, let me just look
25   at the draft order that was given to me by the Dexia folks
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 53 of 56 PageID #:21741
                                                                               53


 1   back on the 12th of November. So in paragraph two, adequate
 2   protection, the number 325 should be changed to 345. As far
 3   as the rest of it is concerned, I'm not -- we need to get an
 4   order entered, and so I need you to -- I need Mr. Cuppy's
 5   lawyers to sort of deal with the rest of that order -- well, I
 6   guess you gave me a version here.
 7               Let me go through -- honestly, I tabled going through
 8   these in detail, the one-page order versus the trust -- I mean
 9   the ten-page order based on today, so let me go through those
10   now, and I will get word to you probably by some form of
11   e-mail as to what exactly I need in an order. And if you all
12   could give me --
13               You know, for whatever reason, it's one of the screwy
14   things about the docket in this case because we've got all of
15   these people who weren't parties to the underlying case, I
16   don't think Ms. Krejci's appearance is on the docket, and I
17   know Mr. Gregory's isn't.
18               MS. KREJCI: Mine is.
19               THE COURT: It is? Actually shows up at the front
20   part of the docket?
21               MS. KREJCI: Yes.
22               THE COURT: I mean, I know you filed it, but for
23   whatever reason I can't find it.
24               Mr. Gregory's should have gotten on there once I
25   granted pro hac vice, but it isn't.
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 54 of 56 PageID #:21742
                                                                               54


 1               Give me on a piece of paper the e-mail addresses for
 2   all three of you.
 3               MR. SHORT: Yes.
 4               THE COURT: I know I've got them somewhere.
 5               MR. SHORT: I have a card.
 6               THE COURT: It's not going to be today. It will be
 7   tomorrow that I e-mail you and tell you what I need you to do
 8   to the order, and then I'll sign it. Okay?
 9               MR. MENDELOFF: Your Honor, and as to the order, the
10   only -- our only issue is that there was never any objection
11   to anything in the preliminary injunction except for the
12   freezing of assets, so the rest of it was unobjected to and --
13               THE COURT: So the rest of what you've got in here is
14   essentially taking stuff that was in the TRO and carrying it
15   forward.
16               MR. MENDELOFF: Just like all the other preliminary
17   injunctions.
18               THE COURT: Okay. So I'll look at it with that.
19               MS. KREJCI: Your Honor, if I may respond to that.
20   All that was argued for was an asset freeze. That's why we
21   didn't argue all the other components of the entire order.
22               THE COURT: See, I have to tell you I don't agree
23   with that because the motion for a preliminary injunction
24   asked for all of the stuff that was in the TRO, and the
25   hearing is -- I think I said this in the order, the hearing
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 55 of 56 PageID #:21743
                                                                               55


 1   was based on the issues that were disputed, and what was
 2   disputed was, you know, what part of Mr. Cuppy's assets and
 3   those of Dynamic Alliance should be frozen. But I'll look at
 4   this and figure out -- I mean, the fact of the matter is, is
 5   that the temporary restraining order that relates to
 6   Mr. Cuppy, which has remained in effect for, you know, two and
 7   half months now, based on governing Seventh Circuit law, it's
 8   already a preliminary injunction under a case called Chicago
 9   United Industries versus City of Chicago.
10               So, you know, I have to pull out the original order
11   and compare it with these two, but I'll send you an e-mail
12   tomorrow.
13               MR. MENDELOFF: Thank you, Your Honor.
14               MR. SHORT: And, Your Honor, just like you had
15   indicated that Mr. Mendeloff is right, I wanted to make sure
16   that my -- hopefully my practical approach there at the end
17   was understood as saying --
18               THE COURT: This is a preliminary injunction. It's
19   an interlocutory matter. The findings that I've made are not
20   binding at any other stage of the case. That's what
21   preliminary injunctions are.
22               And now I need you guys to deal -- I'm hoping you're
23   going to be able to resolve this immediate issue, you know, by
24   sale of this property and whatever else and that that's then
25   going to be put somewhere where it will be held, but then I
Case: 1:02-cv-08288 Document #: 1182 Filed: 10/28/09 Page 56 of 56 PageID #:21744
                                                                               56


 1   need Dexia's lawyers and Mr. Cuppy's lawyers to have the same
 2   type of discussion that you had with the Rogan children's
 3   lawyers to figure out what's next.
 4               MR. SHORT: If there's going to be a motion for
 5   formal turnover, a hearing?
 6               THE COURT: Yes, which is already implicitly there,
 7   but what I'm talking about is setting a schedule for whatever
 8   else needs to be done to enable me to get to a point where I
 9   can decide that. Okay?
10               I'm hoping you have nothing else because I'm tired.
11               MR. MENDELOFF: We have nothing else. And we thank
12   you, Your Honor.
13               MR. SHORT: Thank you, Your Honor.
14               THE COURT: Thanks.
15
16                       *     *      *     *     *     *       *
17                             C E R T I F I C A T E
18
19
20             I hereby certify that the foregoing is a true and
21   correct transcript of the above-entitled matter.
22
23   /s/ Valarie M. Ramsey                            09-03-2009
24                           ___                                    __
       Court Reporter                                    Date
25
